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                      Toshiba Exhibit E
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                                                    America Electronic Components, Inc., Toshiba America
                                               11   Information Systems, Inc., Toshiba America Consumer
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                                               13                           UNITED STATES DISTRICT COURT
                                                                           NORTHERN DISTRICT OF CALIFORNIA
                                               14
                                                                              (SAN FRANCISCO DIVISION)
                                               15
                                               16
                                                    IN RE: CATHODE RAY TUBE (CRT)                          Case No. 07-5944 SC
                                               17   ANTITRUST LITIGATION                                     MDL No. 1917
                                               18
                                               19   This Document Relates to:
                                                                                                TOSHIBA ENTITIES’ AMENDED
                                               20
                                                    ALL ACTIONS
                                               21                                               RULE 26(A)(1) INITIAL DISCLOSURES

                                               22
                                               23          Defendants Toshiba Corporation, Toshiba America, Inc., Toshiba America Electronic
                                               24   Components, Inc., Toshiba America Information Systems, Inc., and Toshiba America
                                               25   Consumer Products L.L.C. (collectively, the “Toshiba Entities”) hereby amend their prior
                                               26   initial disclosures, pursuant to Rules 26(a)(1) and 26(e) of the Federal Rules of Civil
                                               27   Procedure.
                                               28


                                                                 TOSHIBA ENTITIES’ AMENDED RULE 26(A)(1) INITIAL DISCLOSURES
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                                                1          The Toshiba Entities provide these Amended Initial Disclosures (the “Disclosures”)
                                                2   based on discovery to date, information presently available to the Toshiba Entities, and a
                                                3   good-faith inquiry into the facts relating to the alleged subject matter of these actions.
                                                4          Nothing in these Disclosures shall be construed as a waiver of the attorney-client
                                                5   privilege, attorney work-product doctrine, or any other applicable privilege, protection, or
                                                6   doctrine. The Toshiba Entities reserve the right to object to the testimony of any of the
                                                7   witnesses identified herein and to the production or introduction into evidence of any
                                                8   document within the categories set forth herein on the basis of privilege, relevance, or any
                                                9   other applicable objection.
                                               10          Nothing in these Disclosures shall be construed as an admission or acceptance by the
                                               11   Toshiba Entities of the relevance or admissibility of any witness, document, or fact in these
                                               12   Disclosures.
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                                               13          The Toshiba Entities’ investigation of the facts relating to the Plaintiffs’ Complaints
                                               14   is ongoing, and the Toshiba Entities reserve the right to modify, amend, or supplement these
                                               15   Disclosures pursuant to Rule 26(e) of the Federal Rules of Civil Procedure and the Local
                                               16   Rules of Practice in Civil Proceedings before the United States District Court for the
                                               17   Northern District of California.
                                               18          These Disclosures are made only for the purpose of this action.
                                               19          All of the Disclosures below are subject to the above limitations, objections, and
                                               20   qualifications.
                                               21          I.         Rule 26(a)(1)(A)(i): Individuals Likely to Have Discoverable Information
                                               22          In addition to those individuals who have previously been deposed or who were
                                               23   otherwise identified in any of the actions in this MDL, throughout the course of discovery in
                                               24   this matter the Toshiba Entities have identified the following additional individuals who may
                                               25   have information that the Toshiba Entities may use to support their claims or defenses in the
                                               26   areas indicated for them:
                                               27          Tomohito Amano, Clayton Bond, Michael Du, Charles Farmer, Norio Fujita, Jay
                                               28   Heinecke, Tomoyuki Kawano, Koji Kurosawa, John Milliken, Kazuhiro Nishimaru,

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                                                1   Kazutaka Nishimura, Dan Ryan, Shigekazu Shibata, Shinichiro Tsuruta, Yoshiaki Uchiyama,
                                                2   Yasuki Yamamoto: CRT manufacturing, CRT pricing and sales, the CRT and CRT finished
                                                3   product markets, CRT technology, and the allegations in the complaints. Clayton Bond,
                                                4   Michael Du, Tomoyuki Kawano, Kazutaka Nishimura, and Yasuki Yamamoto were also
                                                5   custodians of documents produced to the Plaintiffs.          In addition, Jay Heinecke, Koji
                                                6   Kurosawa, and Yoshiaki Uchiyama provided Rule 30(b)(6) testimony to the Plaintiffs, and
                                                7   Norio Fujita, Kazuhiro Nishimaru, Kazutaka Nishimura, Dan Ryan, Shinichiro Tsuruta, and
                                                8   Yasuki Yamamoto were deposed by the Plaintiffs as percipient witnesses.
                                                9           Charles Farmer, Richard Huber, Scott Ramirez: CRT finished product manufacturing,
                                               10   CRT purchasing, CRT finished product pricing and sales, and the allegations in the
                                               11   complaints. Scott Ramirez was also a custodian of documents produced to the Plaintiffs. In
                                               12   addition, Richard Huber provided Rule 30(b)(6) testimony to the Plaintiffs.
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                                               13           The Toshiba Entities further intend to rely on witnesses identified in their discovery
                                               14   responses, witnesses identified in other Defendants’ disclosures and discovery responses,
                                               15   witnesses identified in testimony, witnesses employed by other Defendants, and witnesses
                                               16   from customers or other third parties identified and not yet identified.
                                               17           II.    Rule 26(a)(1)(A)(ii): Documents to Support Claims or Defenses
                                               18           The Toshiba Entities have made documents, data compilations, and tangible items
                                               19   that are in the possession, custody, or control of the Toshiba Entities, and which the Toshiba
                                               20   Entities may use to support their claims or defenses, available for review by the Plaintiffs.
                                               21   To the extent there are additional documents, the Toshiba Entities will produce those
                                               22   documents as they are identified. The Toshiba Entities’ documents are principally located in
                                               23   Irvine, California, and Tokyo, Japan.       The Toshiba Entities reserve the right to use
                                               24   documents produced by other parties or by non-parties to the litigation as well as documents
                                               25   used in depositions, pleadings, or filings by any party.
                                               26           III.    Rule 26(a)(1)(A)(iii): Damages
                                               27           Not applicable. The Toshiba Entities have not yet made any claims for damages in
                                               28   this action.

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                                                1          IV.    Rule 26(a)(1)(A)(iv): Insurance Agreements
                                                2          The Toshiba Entities continue to review and analyze whether it has any such
                                                3   insurance agreements.
                                                4
                                                5   Dated: August 1, 2014
                                                6
                                                                                            By: ______________________________
                                                7
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                                               16
                                                                                                America Information Systems, Inc., Toshiba
                                               17                                               America Consumer Products, L.L.C.
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                                                1                              CERTIFICATE OF SERVICE
                                                2        On August 1, 2014, I caused a copy of “TOSHIBA ENTITIES’ AMENDED
                                                3   RULE 26(A)(1) INITIAL DISCLOSURES” to be served via email upon:
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                                               28



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